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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 FUJIAN MINGTA TOYS CO. LTD.,

                       Plaintiff,

                v.
                                                    Civil Action No. 1:24-cv-05625
 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

                       Defendants.


                            NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Fujian Mingta Toys Co. Ltd., by and

through its undersigned counsel, hereby voluntarily dismisses this action without prejudice as to

the following Defendants:

               Defendant Name                          Store ID
      JUEHUI                               A3DJ9FWCVJG6PC
      Wayomagic                            A2RVPXGJBJXFEJ
      Annexfun                             A36R6BIJXIAO5R
      Burmen                               A2U4AIUXG2I6VA
      Jone Sakura                          A364CP616726BS
      NerveolDirect                        A2A959TO9E5K07
      Josijoli                             A32YZPZ4TOKD4F
      Heyingrow                            ANSDUNYPEIOMJ
      MiHong                               AZDDUCF9RYEGW

       Prior to the filing of this notice, these Defendants have yet to file an answer or motion for

summary judgment.




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   DATED: January 17, 2025                     Respectfully submitted,

                                               By: /s/ Nicholas Najera

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                                               Texas Bar No. 24127049
                                               nnajera@nilawfirm.com

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                                               Counsel for Plaintiff




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